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7
                          IN THE UNITED STATES DISTRICT COURT
8
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
9
     THE STATE OF CALIFORNIA; THE STATE OF
10
     CONNECTICUT; THE STATE OF DELAWARE; THE                                 Case No. 4:17-cv-05783-HSG
11   DISTRICT OF COLUMBIA; THE STATE OF HAWAII;
     THE STATE OF ILLINOIS; THE STATE OF                                     LITLE SISTERS’ NOTICE
12   MARYLAND; THE STATE OF MINNESOTA, by and                                OF SUPPLEMENTAL
     through its Department of Human Services; THE STATE                     AUTHORITY
13   OF NEW YORK; THE STATE OF NORTH
     CAROLINA; THE STATE OF RHODE ISLAND; THE
14
     STATE OF VERMONT; THE COMMONWEALTH OF
15   VIRGINIA; THE STATE OF WASHINGTON,

16               Plaintiffs,

17   THE STATE OF OREGON,
18               Intervenor-Plaintiff,
19
            v.
20
     ALEX M. AZAR, II, in his Official Capacity as Secretary
21   of the U.S. Department of Health & Human Services; U.S.
     DEPARTMENT OF HEALTH AND HUMAN
22   SERVICES; R. ALEXANDER ACOSTA, in his Official
     Capacity as Secretary of the U.S. Department of Labor;
23   U.S. DEPARTMENT OF LABOR; STEVEN
24   MNUCHIN, in his Official Capacity as Secretary of the
     U.S. Department of the Treasury; U.S. DEPARTMENT
25   OF THE TREASURY;

26                   Defendants,
27      and,
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                         Little Sisters’ Notice of Supplemental Authority (4:17-cv-05783-HSG)
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       THE LITTLE SISTERS OF THE POOR, JEANNE
1
       JUGAN   RESIDENCE;   MARCH   FOR   LIFE
2      EDUCATION AND DEFENSE FUND,

3                              Defendants-
                               Intervenors.
4

5       Anthony K. Zand
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                         Little Sisters’ Notice of Supplemental Authority (4:17-cv-05783-HSG)
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1       The Little Sisters of the Poor, Jeanne Jugan Residence (Little Sisters) submit this notice of

2    supplemental authority as relevant to the pending motions to dismiss or, in the alternative, to grant

3    summary judgment (ECF 311, 366, 368, 370) which were being held in abeyance prior to the parties’

4    status report on April 30 (ECF 454).

5       In its April 9 decision in Tandon v. Newsom, the U.S. Supreme Court enjoined, under the Free

6    Exercise Clause, California’s COVID-19 restrictions on multi-household gatherings in private homes,

7    as applied to at-home religious exercise. 141 S. Ct. 1294 (2021). Tandon summarizes multiple “clear”

8    principles from recent Free Exercise cases. As relevant here, those principles demonstrate why the
9    agencies were obligated to expand the religious exemption, and why this Court cannot constitutionally
10   grant the relief the States seek, namely allowing the “prior rules [to] spring back into effect.” Summ.
11   J. H’rg Tr. 9:7-8 (States’ counsel). Tandon thus both resolves the States’ claims on the merits and
12   confirms their lack of standing, because the redress they seek cannot be provided.
13      First, Tandon establishes that “government regulations are not neutral and generally applicable,
14   and therefore trigger strict scrutiny under the Free Exercise Clause, whenever they treat any
15   comparable secular activity more favorably than religious exercise,” even where “some comparable
16   secular businesses or other activities [are treated] as poorly as or even less favorably than the religious
17   exercise.” 141 S. Ct. at 1296 (emphasis in original). And whether an entity is “comparable” is “judged
18   against the asserted government interest that justifie[d] the regulation at issue.” A distinction based on

19   other government interests is not relevant. Id.

20      Here, the Affordable Care Act’s statutory scheme grants many secular businesses an exemption

21   denied the Little Sisters in the underlying Mandate, and the implementing regulations further grant

22   some religious entities an exemption denied the Little Sisters. ECF 371 at 4, 29 (discussing exemptions

23   for, e.g., small businesses, grandfathered plans, and churches). And Tandon makes clear that whether

24   some comparator entities labor under the same burden as the Little Sisters is irrelevant; strict scrutiny

25   applies under the Free Exercise Clause when “any comparable secular” entity gets better treatment.

26   141 S. Ct. at 1296. Whatever reasons might support the government’s other exemptions (like employer

27   convenience) do not change the tier of scrutiny, since only “the asserted government interest”—

28   making contraception more available—matters to the comparator analysis. Id.

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1       Second, Tandon makes clear that for the government to satisfy its “burden to establish that the

2    challenged law satisfies strict scrutiny” when other conduct is exempted, it must “show that the

3    religious exercise at issue” threatens the government interest to a greater degree than the other

4    exempted conduct—not just that it threatens the interest at all. Id. If it does not, then the regulations

5    “that suffice for other activities suffice for religious exercise too.” 141 S. Ct. at 1297 (government

6    failed to show religious exercise was “more dangerous” than those activities allowed to proceed with

7    fewer “precautions”).

8       Here, the States’ arguments (ECF 433 at 10) that an exemption would impose increased “burdens
9    of seeking out and obtaining contraceptive care” are not only mistaken, see ECF 437 at 17-18, but now
10   beside the point. When the federal government decided to exempt many other secular and religious
11   employers notwithstanding any detriment to the Mandate’s goals, strict scrutiny foreclosed placing
12   any greater burden on the Little Sisters. The Federal Defendants previously explained—in defending
13   the Mandate at the Supreme Court—the “precautions,” 141 S. Ct. at 1297, that the government
14   believed mitigated the exemptions: employees’ opportunity to “obtain coverage through a family
15   member’s employer, through an individual insurance policy purchased on an Exchange or directly
16   from an insurer, or through Medicaid or another government program” and thus obtain “contraceptive
17   coverage.” Respondents’ Br. at 65, Zubik v. Burwell, No. 14-1418 (Feb. 10, 2016). And once Congress
18   and the agencies determined that these alternatives sufficiently mitigated the detriment from the other

19   exemptions, the First Amendment required that the agencies subject religious entities to no greater

20   restrictions. Tandon, 141 S. Ct. at 1297.

21      Put simply, Tandon dictates that where a secular activity is treated “more favorably” than a

22   religious activity that implicates the same “asserted government interest,” the religious activity must

23   be given the same favorable treatment under the Free Exercise Clause. 141 S. Ct. at 1296. So the

24   agencies had no option to deny religious objectors an exemption. Nor could this Court provide the

25   States with the relief they seek—reimposition of the “prior rules,” Summ. J. H’rg Tr. 9:7-8—where

26   that remedy would be constitutionally barred by the Free Exercise Clause.

27      Tandon thus confirms that the States cannot prevail in this case, and that their claims are not

28   redressable. This Court should dismiss the States’ complaint or enter judgment against them.

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1    Dated: May 07, 2021                                Respectfully submitted,

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